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                         UNITED STATES DISTRICT COURT
                              DISTRICT OF MAINE


   UNITED STATES OF AMERICA              )
                                         )
         v.                              )     1:11-cr-00205-JAW-9
                                         )
   KELVIN MALLY                          )


                   ORDER AFFIRMING THE
        RECOMMENDED DECISION OF THE MAGISTRATE JUDGE

         The United States Magistrate Judge filed with the Court on April 7,

   2014 his Recommended Decision (ECF No. 718). The Defendant filed his

   objection to the Recommended Decision on April 11, 2014 (ECF No. 721) and

   the Government filed its response to the objection on April 28, 2014 (ECF No.

   722). I have reviewed and considered the Magistrate Judge's Recommended

   Decision, together with the entire record; I have made a de novo

   determination of all matters adjudicated by the Magistrate Judge's

   Recommended Decision; and I concur with the recommendations of the

   United States Magistrate Judge for the reasons set forth in his

   Recommended Decision, and determine that no further proceeding is

   necessary.

         1.     It is therefore ORDERED that the Recommended Decision of the
                Magistrate Judge is hereby AFFIRMED.

         2.     It is further ORDERED that the Defendant’s Motion to Suppress
                (ECF No. 657) be and hereby is DENIED.
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         SO ORDERED.


                           /s/John A. Woodcock, Jr.
                           JOHN A. WOODCOCK, JR.
                           CHIEF UNITED STATES DISTRICT JUDGE

   Dated this 19th day of May, 2014
